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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   Sherilynn Thompson,                              MDL 2:09-cv-04414-SDW-SCM

                      Plaintiff,

               v.                                   Civil Case No. 2:13-cv-06982-SDW-SCM

   ZIMMER HOLDINGS, INC. and
   ZIMMER, INC.,                                    JURY TRIAL DEMANDED

                      Defendants.                   NOTICE OF SUBSTITUTION OF
                                                    ATTORNEY PURSUANT TO R. 1:11-2(a)(1)




    TO:        J. Joseph Tanner
               Andrew Campbell
               FAEGRE BAKER DANIELS LLP
               110 W. Berry St. Suite 2400
               Fort Wayne, Indiana 46802


    Counsel for Zimmer, Inc. and Zimmer
    Holdings, Inc. Defendants



               Pursuant to R. 1:11-2(a)(1), PLEASE TAKE NOTICE, that Daniel R. Leathers,

   Esq. (NJ Bar No. 010442009), the current attorney for Plaintiff, Sherilynn Thompson,

   will no longer serve as counsel of record in the above-captioned matter. Adam

   Weintraub, Esq. NJ Bar No. 038342010, of the law firm of Lieff Cabraser Heimann &

   Bernstein, LLP, 250 Hudson Street, 8th Floor, New York, NY 10013 will now serve as

   counsel of record for Plaintiff, Sherilynn Thompson.

               PLEASE TAKE FURTHER NOTICE that pursuant to R. 1:5-2, all further notices

   and papers should be served upon Adam Weintraub, Esq. NJ Bar No. 038342010, of the




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   law firm of Lieff Cabraser Heimann & Bernstein, LLP, 250 Hudson Street, 8th Floor,

   New York, NY 10013.

               PLEASE TAKE FURTHER NOTICE that, Adam Weintraub, Esq., is hereby

   designated as trial counsel pursuant to R. 4:25-4, substituting out Daniel R. Leathers, Esq.

               PLEASE TAKE FURTHER NOTICE that, to the extent that Daniel R. Leathers,

   Esq. submitted a certification in support of the admission of other attorneys pro hac vice

   in the within matter pursuant to R. 1:21-2, I, Adam Weintraub, Esq., will:

                  •   substitute and serve as local counsel of record in this matter in lieu of
                      Daniel R. Leathers, Esq.,
                  •   review and sign all pleadings, briefs, and other papers filed with the Court,
                  •   be responsible for the conduct of this action and for the conduct of the
                      attorneys admitted pro hac vice,
                  •   ensure that attorneys admitted pro hac vice pay the New Jersey Lawyers’
                      Fund for Client Protection on an annual basis as provided by New Jersey
                      Court Rule 1:28-2(a), and
                  •   otherwise ensure compliance with all of the terms and conditions of the
                      Rules of Court.




   Daniel R. Leathers (NJ Bar No. 010442009)             Adam Weintraub (NJ Bar No. 038342010)
   LIEFF CABRASER HEIMANN &                              LIEFF CABRASER HEIMANN &
     BERNSTEIN, LLP                                        BERNSTEIN, LLP
   250 Hudson Street, 8th Floor                          250 Hudson Street, 8th Floor
   New York, NY 10013-1413                               New York, NY 10013-1413
                                                         aweintraub@lchb.com




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